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                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

LEE HUNT, as personal representative
of the Estate of SEAN BREEDEN,
Deceased,

              Plaintiff,

ATLANTIC SPECIALTY INSURANCE,
COMPANY,

              Intervenor Plaintiff,

vs.                                                                  No. CIV 15-0233 JB/GJF

NORTH CAROLINA LOGISTICS, INC., a
North Carolina corporation; SANVIL
GROUP CORP., a Florida corporation;
LEONARDO R. CABREDRA-SALGADO,
Individually; BENITO A. OLIVA,
individually; TRANS DELBUC, LLC and
ANTONIO DELLI COLLI,

              Defendants.

                                      FINAL JUDGMENT

       THIS MATTER comes before the Court on: (i) Memorandum Opinion and Order, filed

June 23, 2016 (Doc. 218)(“MOO”); and (ii) the Court’s Order Granting Stipulated Motion to

Dismiss, filed September 8, 2016 (Doc. 227). The Court’s MOO dismissed Plaintiff-Intervenor

Atlantic Specialty Insurance Company with prejudice.       See MOO at 2, 31.       Further, in

accordance with the Court’s Order Granting Stipulated Motion to Dismiss, all claims that were

or could have been asserted against Defendants North Carolina Logistics, Inc., Sanvil Group,

Corp. Leonardo R. Cabrera-Salgado, Benito A. Oliva, Trans Delbuc, LLC, and Antonio Delli

Colli, have been dismissed with prejudice.

       IT IS ORDERED that: (i) final judgment is entered; and (ii) the case is hereby dismissed
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with prejudice.

                                                        ________________________________
                                                        UNITED STATES DISTRICT JUDGE

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